                                                                                                                                                                                                       Page:       1

                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:                16-21486                       DLS            Judge:        Dale L. Somers                               Trustee Name:                      Christopher J. Redmond Ch7
Case Name:              Jeffrey A Dade                                                                                           Date Filed (f) or Converted (c):   08/02/2016 (f)
                                                                                                                                 341(a) Meeting Date:               09/06/2016
For Period Ending:      01/23/2017                                                                                               Claims Bar Date:


                                     1                                              2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 1116 E Fredrickson Dr                                                               20,000.00                   20,000.00                                                       0.00                        FA
     Olathe Ks 66061-0000 Johnson
  2. Household Goods - Furniture, Misc                                                    1,000.00                        0.00                                                       0.00                        FA
  3. Electronics - Tv, Misc.                                                                 300.00                       0.00                                                       0.00                        FA
  4. Clothing - Misc.                                                                        300.00                       0.00                                                       0.00                        FA
  5. Community America                                                                        10.00                       0.00                                                       0.00                       0.00
  6. Honeywell Retirement                                                                30,000.00                        0.00                                                       0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $51,610.00                  $20,000.00                                                    $0.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  10/04/16 - The Trustee held this matter open at this time
  11/14/16 - Correspondence to counsel requesting additional information
  01/23/17 - Enter assets and prepare initial interim report
  01/23/17 - Review; memo to Trustee regarding this matter and status




  Initial Projected Date of Final Report (TFR): 12/31/2018            Current Projected Date of Final Report (TFR): 12/31/2018

  Trustee Signature:        /s/ Christopher J. Redmond Ch7         Date: 01/23/2017
                            Christopher J. Redmond Ch7
                            4801 Main Street, Suite 1000
                            Kansas City MO 64112
                            (816) 283-4672




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